               Case 3:16-md-02741-VC Document 2613 Filed 01/30/19 Page 1 of 4




 1                                  UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3                                                        )
     IN RE: ROUNDUP PRODUCTS                              )   MDL No. 2741
 4   LIABILITY LITIGATION                                 )
                                                          )   Case No. 3:16-md-02741-VC
 5                                                        )
                                                          )   STIPULATION WITH [PROPOSED]
 6                                                        )   ORDER REGARDING COLLATERAL
     Hardeman v. Monsanto Co., et al,                     )   SOURCE EVIDENCE
 7   3:16-cv-0525-VC                                      )
     Stevick v. Monsanto Co., et al,                      )
 8   3:16-cv-2341-VC                                      )
     Gebeyehou v. Monsanto Co., et al,                    )
 9   3:16-cv-5813-VC
10
               The parties jointly stipulate as follows with respect to collateral source evidence:1
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             1. Neither party will seek to introduce evidence regarding Plaintiffs’ health insurance;
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             2. Neither party will argue or imply that such collateral benefits do exist or do not exist;
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             3. Neither party will argue or imply that liability insurance would cover any verdict
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                 against Monsanto in whole or in part;
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             4. The parties agree that references to any collateral source benefits may be redacted
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                 from otherwise admissible documents such as medical records and do not render those
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                 documents wholly inadmissible.
18

19   Dated: January 30, 2019
20                                            /s/ Aimee Wagstaff
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24                                            /s/ Robin Greenwald
                                              Robin Greenwald
25                                            rgreenwald@weitzlux.com
                                              Weitz & Luxenberg
26

27   1
         This stipulation does not apply to voir dire.
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                         STIPULATION REGARDING COLLATERAL SOURCE EVIDENCE
                      3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
     Case 3:16-md-02741-VC Document 2613 Filed 01/30/19 Page 2 of 4



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                                 Co-Lead Counsel for Plaintiffs
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 8                               /s/ Brian L. Stekloff___________
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             STIPULATION REGARDING COLLATERAL SOURCE EVIDENCE
          3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
          Case 3:16-md-02741-VC Document 2613 Filed 01/30/19 Page 3 of 4



                                      Tel: 202-662-6000
 1

 2                                    Attorneys for Defendant
                                      MONSANTO COMPANY
 3

 4

 5   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 6
     Dated: _______________
 7

 8                                    ________________________________
                                      HONORABLE VINCE CHHABRIA
 9                                    UNITED STATES DISTRICT COURT JUDGE
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                  STIPULATION REGARDING COLLATERAL SOURCE EVIDENCE
               3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
            Case 3:16-md-02741-VC Document 2613 Filed 01/30/19 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 30th day of January 2019, a copy of the foregoing was
 3   filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all
 4   appearing parties of record.
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 6                                                  /s/ Brian L. Stekloff___________
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                       STIPULATION REGARDING COLLATERAL SOURCE EVIDENCE
                    3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
